          Case 09-10347-8-SWH                                Doc 20 Filed 12/21/09 Entered 12/21/09 16:38:32                                             Page 1 of 43
B6 Summary (Offcial Form 6 - Summary) (12/07)



                                                                   United States Bankruptcy Court
                                                                      Eastern District of         North Carolina

  In re           Rodney Allen McCowan                                                                                             Case No.       09-10347-8
                                                                                                  Debtor
                                                                                                                                   Chapter                           11




                                                                       SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of                         pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of                               the debtor's assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of                           the debtor's liabilities. Individual debtors must
     also complete the "Statistical Summary of                Certain Liabilities and Related Data" if         they fie a case under chapter 7, Ii, or 13.



          NAME OF SCHEDULE                                 ATTACHED                 NO. OF                 ASSETS                      LIABILITIES                    OTHER
                                                            (YESINO)                SHEETS

A - Real Propert                                                  Yes                 1                       2,140,000.00


B - Personal Propert                                              Yes                 4                           30,893.27


C - Propert Claimed as Exempt                                     Yes                 4


D - Creditors Holding Secured Claims                              Yes                 3


E - Creditors Holding Unsecured                                   Yes                 3
    Priority Claims (Total of Claims on Schedule E)


F - Creditors Holding Unsecured                                   Yes                 7
    Nonpriority Claims
G - Executory Contracts and                                       Yes                 1
    Unexpired Leases


H - Codebtors                                                     Yes                 1



I - Current Income ofIndividual                                   Yes                 1
    Debtor(s)

J - Current Expenditures ofIndividual                             Yes                 2
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                            27


                                                                                Total Assets


                                                                                                         Total Liabilities                 2,864,817.71




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          Case 09-10347-8-SWH                                Doc 20 Filed 12/21/09 Entered 12/21/09 16:38:32                       Page 2 of 43
Form 6 - Statistical Summary (12/07)




                                                                  United States Bankruptcy Court
                                                                     Eastern District of North Carolina
 In re           Rodney Allen McCowan                                                                           Case No.     09-10347-8
                                                                                            Debtor
                                                                                                                Chapter                       11



             STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.c. § 159)
         If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of      the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
         a case under chapter 7, 11 or 13, you must report all information requested below.

             . Check this box if   you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                  report any information here.

         This information is for statistical purposes only under 28 U.S.c. § 159.
         Summarize the following types of liabilties, as reported in the Schedules, and total them.


           Type of Liabilty                                                                            Amount

           Domestic Support Obligations (from Schedule E)

           Taxes and Certain Other Debts Owed to Governmental Units
           (from Schedule E)

           Claims for Death or Personal Injury While Debtor Was Intoxicated
           (from Schedule E) (whether disputed or undisputed)

            Student Loan Obligations (from Schedule F)

           Domestic Support, Separation Agreement, and Divorce Decree
           Obligations Not Reported on Schedule E
           Obligations to Pension or Profit-Sharing, and Other Similar Obligations
           (from Schedule F)

                                                                                TOTAL


            State the following'


            Average Income (from Schedule I, Line 16)


            Average Expenses (from Schedule J, Line 18)

            Current Monthly Income (from Form 22A Line 12; OR,
            Form 22B Line 1 I; OR, Form 22C Line 20 )


            State the following:

            I. Total frorn Schedule D, "UNSECURED PORTION, IF ANY"
                column
            2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                column
            3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                PRIORITY, IF ANY" column

            4. Total from Schedule F


            5. Total of   non-priority unsecured debt (sum of 1,3, and 4)




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B6A (Offcial Form 6A) (12/07)




  In re          Rodney Allen McCowan                                                                              Case No.      09-10347-8
                                                                                          Debtor

                                                                 SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real propert in which the debtor has any legal, equitable, or future interest, including all propert owned as a
cotenant, community propert, or in which the debtor has a life estate. Include any propert in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If     the debtor is married, state whether husband, wife, both, or the marital community own the propert by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If       the debtor holds no interest in real propert, write "None" under
"Description and Location of Propert."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any propert, state the amount of the secured claim. See Schedule D. Ifno entity
claims to hold a secured interest in the propert, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is fied, state the amount of any exemption claimed in the propert only in Schedule C - Propert Claimed as Exempt.

                                                                                                        Husband,        Current Value of
                                                                                                                       Debtor's Interest in        Amount of
                                                                                 Nature of  Debtor's     Wife,
                 Description and Location of Propert                             Interest in Propert     Joint, or
                                                                                                                        Propert, without
                                                                                                                                                 Secured Claim
                                                                                                                     Deducting any Secured
                                                                                                       Community       Claim or Exemption


222 Tennwood Court                                                                                                            1,450,000.00           1,881,781.67
Durham, NC 27712
(Value listed is estimate)

2507 South Bald Head Wynd                                                                                                      600,000.00              457,107.00
Bald Head Island, NC

1211 Champions Point Drive                                                                                                       90,000.00              272,604.00
Durham, NC 27712
(Propert occupied by former spouse)




                                                                                                         Sub-Total?           2,140,000.00       (Total of   this page)

                                                                                                              Total?          2,140,000.00
~ continuation sheets attached to the Schedule of Real Propert
                                                                                                         (Report also on Summary of Schedules)
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          Case 09-10347-8-SWH                                Doc 20 Filed 12/21/09 Entered 12/21/09 16:38:32                                                 Page 4 of 43
B6B (Offcial Form 6B) (12/07)




  In re          Rodney Allen McCowan                                                                                             Case No.          09-10347-8
                                                                                                 Debtor

                                                          SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal propert of                 the debtor of   whatever kind. If   the debtor has no propert in one or more of       the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of               the category. If   the debtor is married, state whether husband, wife, both, or the marital community
own the propert by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If                    the debtor is an individual or a joint
petition is fied, state the amount of any exemptions claimed only in Schedule C - Propert Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the propert is being held for the debtor by someone else, state that person's name and address under "Description and Location of Propert."
                                                                                                          the child's parent or guardian, such as
If the propert is being held for a minor child, simply state the child's initials and the name and address of



                                                             N Husband, Current Value of
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.c. § 112 and Fed. R. Bankr, P. i 007(m).


                Type of Propert                              N  Joint, or Secured
                                                             E Community  withoutClaim
                                                                                  Deducting   any
                                                             o Description and Location of Propert Wife, Debtor's Interest in Propert,
                                                                                       or Exemption
 i. Cash on hand                                                 Cash                                                                                                         71.00

2. Checking, savings or other financial                          SunTrust Checking Account                                                                                  780.27
      accounts, certificates of deposit, or                      (Amount as of 11/16/2009)
      shares in banks, savings and loan,
      thrift, building and loan, and
      homestead associations, or credit
      unions, brokerage houses, or
      cooperatives.

 3. Security deposits with public                                Security deposit with Piedmont Electric                                                                  1,635.00
      utilities, telephone companies,
      landlords, and others.

 4. Household goods and fumishings,                              Offce/library furnishings                                                                                5,584.00
      including audio, video, and
      computer equipment.                                        Guest suite furnishings                                                                                  2,466.00

                                                                 Master bedroom furnishings                                                                                 604.00

                                                                 Fitness center furnishings                                                                               2,007.00

                                                                 Miscellaneous furniture                                                                                  1,809.00

                                                                 Statues                                                                                                  1,900.00

                                                                 Calligraphy                                                                                                750.00

                                                                 AudioNideo equipment                                                                                     5,250.00

                                                                 Laquerware                                                                                               2,290.00

                                                                 Baskets                                                                                                    365.00

                                                                 Vases                                                                                                      495.00

                                                                 Dishes                                                                                                     782.00

                                                                 Outdoor furniture                                                                                        1,200.00


                                                                                                                                                Sub-Total?            27,988.27
                                                                                                                                 (Total of   this page)


i- continuation sheets attached to the Schedule of Personal Propert


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B6B (Offcial Form 6B) (12/07) - ConI.




 In re           Rodney Allen McCowan                                                                                 Case No.           09-10347-8
                                                                                           Debtor

                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                  (Continuation Sheet)


                                                            N                                                                     Husband,           Current Value of
                                                             0                                                                     Wife,        Debtor's Interest in Propert,
                 Type of Propert                                                Description and Location of Propert                Joint, or      without Deducting any
                                                            N
                                                            E                                                                 Community Secured Claim or Exemption

                                                                 Miscellaneous household goods                                                                    405.00

5.     Books, pictures and other art                         X
       objects, antiques, stamp, coin,
       record, tape, compact disc, and
       other collections or collectibles.

6.     Wearing appareL.                                      X

7.     Furs and jewelry.                                         Rolex Oyster Perpetual GMT Master Watch                                                        2,000.00

8.     Firearms and sports, photographic,                    X
       and other hobby equipment.

9.     Interests in insurance policies.                          Northwestern Mutual                                                                                  0.00
       Name insurance company of              each
       policy and itemize surrender or                           MetUfe                                                                                               0.00
       refund value of each.

10. Annuities. Itemize and name each                         X
       issuer.

11. Interests in an education IRA as                         X
       defined in 26 U.S.C. § 530(b)(I) or
       under a qualified State tuition plan
       as defined in 26 U.S.C. § 529(b)(I).
       Give particulars. (File separately the
       record(s) of any such interest(s).
       i i U.sc. § 521(c).)


12. Interests in IRA, ERISA, Keogh, or                       X
       other pension or profit sharing
       plans. Give particulars.

13. Stock and interests in incorporated                      X
       and unincorporated businesses.
       Itemize.

14. Interests in partnerships or joint                       X
       ventures. Itemize.

15. Government and corporate bonds                           X
       and other negotiable and
       nonnegotiable instruments.

 16.   Accounts receivable.                                  X




                                                                                                                                     Sub-Total?               2,405.00
                                                                                                                      (Total of    this page)

Sheet 1 of ~ continuation sheets attached
to the Schedule of Personal Propert
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          Case 09-10347-8-SWH                                Doc 20 Filed 12/21/09 Entered 12/21/09 16:38:32                              Page 6 of 43
B6B (Offcial Form 6B) (12/07) - Coot.




 In re           Rodney Allen McCowan                                                                                 Case No.      09-10347-8
                                                                                          Debtor

                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                  (Continuation Sheet)


                                                             N                                                               Husband,         Current Value of
                Type of Propert                              o                  Description and Location of Propert
                                                                                                                              Wife,      Debtor's Interest in Propert,
                                                             N                                                                Joint, or without Deducting any
                                                             E                                                              Community Secured Claim or Exemption

17. Alimony, maintenance, support, and X
      propert settlements to which the
      debtor is or may be entitled. Give
      particulars.

18. Other liquidated debts owed to debtor X
      including tax refunds. Give particulars.


19. Equitable or future interests, life                      X
      estates, and rights or powers
      exercisable for the benefit of          the
      debtor other than those listed in
      Schedule A - Real Propert.


20. Contingent and noncontingent                             X
      interests in estate of a decedent,
      death benefit plan, life insurance
      policy, or trust.

21. Other contingent and unliquidated                        X
    claims of every nature, including
      tax refunds, counterclaims of the
      debtor, and rights to setoff claims.
      Give estimated value of each.

22. Patents, copyrights, and other                           X
      intellectual propert. Give
      particulars.

23. Licenses, franchises, and other                          X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations                     X
    containing personally identifiable
      information (as defined in Ii U.S.c.
      § 101(41A)) provided to the debtor
      by individuals in connection with
      obtaining a product or service from
      the debtor primarily for personal,
      family, or household purposes.

25. Automobiles, trucks, trailers, and                           Toyota Prius (2007)                                                                            0.00
      other vehicles and accessories.                            (Ex-wife's car by divorce agreement but loan is in
                                                                 Debtor's name)

26. Boats, motors, and accessories.                          X

27. Aircraft and accessories.                                X



                                                                                                                                  Sub-Total?                  0.00
                                                                                                                      (Total ofthis page)
Sheet ~ of ~ continuation sheets attached
to the Schedule of Personal Propert
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          Case 09-10347-8-SWH                                Doc 20 Filed 12/21/09 Entered 12/21/09 16:38:32                                    Page 7 of 43
B6B (Offcial Form 6B) (12107) - ConI.




 In re           Rodney Allen McCowan                                                                                 Case No.          09-10347-8
                                                                                           Debtor

                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                  (Continuation Sheet)


                                                             N                                                                    Husband,         Current Value of
                                                             0                                                                     Wife,  Debtor's Interest in Propert,
                Type of Propert                                                 Description and Location of Propert             Joint, or   without Deducting any
                                                             N
                                                             E                                                                Community Secured Claim or Exemption

28. Offce equipment, furnishings, and                            Laptop and printer                                                                            500.00
    supplies.

29. Machinery, fixtures, equipment, and                      X
      supplies used in business.

30. Inventory.                                               X

31. Animals.                                                 X

32. Crops - growing or harvested. Give                       X
    particulars.

33. Farming equipment and                                    X
      implements.

34. Farm supplies, chemicals, and feed.                      X

35.   Other personal propert of any kind                     X
      not already listed. Itemize.




                                                                                                                                     Sub-Total?               500.00
                                                                                                                      (Total of    this page)
                                                                                                                                          Total?          30,893.27
Sheet .. of ~ continuation sheets attached
to the Schedule of Personal Propert                                                                                                  (Report also on Summary of Schedules)
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 B6C (Offcial Form 6C) (12107)




  In re          Rodney Allen McCowan                                                                                         Case No.     09-10347-8
                                                                                                Debtor

                                             SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                      o Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                         $136,875.
 o 1 I U.S.c. §522(b)(2)
 . 11 U.S.c. §522(b)(3)

                                                                                                                                  Value of              Current Value of
                                                                                       Specify Law Providing                      Claimed               Propert Without
                   Description of Propert                                                 Each Exemption                         Exemption            Deducting Exemption

Real Propert                                                                                                                                                   600,000.00
2507 South Bald Head Wynd                                                        N.C. Gen. Stat. § 1C-1601(a)(2)                         5,000.00
Bald Head Island, NC

Cash on Hand
Cash                                                                             N.C. Gen. Stat. § 1-362                                     71.00                     71.00

Checking. Savings. or Other Financial Accounts, Certificates of Deposit
SunTrust Checking Account N.C. Gen. Stat. § 1-362                                                                                         780.27                      780.27
(Amount as of 11/16/2009)
Household Goods and Furnishings
Office/library furnishings                                                       N.C. Gen. Stat. § 1 C-1601 (a)(4)                       5,000.00                  5,584.00

Interests in Insurance Policies
Northwestern Mutual                                                              N.C. Const. Art. X § 5; N.C. Gen. Stat.                      0.00                       0.00
                                                                                 § 1 C-1601 (a)(6)

MetLife                                                                          N.C. Const. Art. X § 5; N.C. Gen. Stat.                      0.00                       0.00
                                                                                 § 1 C-1601 (a)(6)

Office Equipment. Furnishings and Supplies
Laptop and printer                                                               N.C. Gen. Stat. § 1 C-1601 (a)(5)                         500.00                     500.00




                                                                                                                     Total:              11,351.27               606,935.27
 ~ continuation sheets attached to Schedule of Propert Claimed as Exempt
                                                                                                                                                             Best Case Bankruptcy
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Rev.   4/2006
                                                                     UNITED STATES BANKRUPTCY COURT
                                                                    EASTERN DISTRICT OF NORTH CAROLINA

 IN THE MATTER OF:                                                                                                        CASE NUMBER:
 Rodney Allen McCowan                                                                                                     09-10347-8
              Debtor(s).


                                                              SCHEDULE C-1 - PROPERTY CLAIMED AS EXEMPT

             I, Rodney Allen McCowan, claim the following property as exempt pursuant to 11 U.S.C. § 522 and the laws of the State of North
Carolina, and nonbankruptcy Federallaw: (Attach additional sheets if necessary).
           1. NCGS 1 C-1601 (a)(1) (NC Const., Article X, Section 2) REAL OR PERSONAL PROPERTY USED AS A RESIDENCE OR BURIAL PLOT
(The exemption is not to exceed $18,500; however, an unmarried debtor who is 65 years of age or older is entitled to retain an aggregate interest in the
property not to exceed $37,000 in value so long as the property was pfeviously owned by the debtor as a tenant by the entireties or as a joint tenant
with rights of survivorship and the former co-owner of the property is deceased, in which case the debtor must specify his/her age and the name of the
former co-owner, if a child use initials only, of the property below).

                                                     Owner
                                                                                                 Amount of
                                                     (H)Husband                                                            Net       Value Claimed as Exempt
 Description of Property                  Market (W)Wife               Mortgage Holder            Mortgage
 and Address                              Value (J)Joint               Of Lien Holder              or Lien               Value Pursuant to NCGS 1C-1601(a)(1)

 -NONE-

 Debtor's Age:
 Name of former co-owner:

                                                  VALUE OF REAL ESTATE CLAIMED AS EXEMPT PURSUANT TO NCGS 1C-1601(a)(1): $                                   0.00

             2. NCGS 1C-1601(a)(3) MOTOR VEHICLE (The exemption in one vehicle is not to exceed $3,500).

                                                     Owner
                                                     (H)Husband                                                            Net       Value Claimed as Exempt
 Model, Year                              Market (W)Wife                                         Amount of
 Style of Auto                            Value (J)Joint               Lien Holder                     Lien              Value Pursuant to NCGS 1C-1601(a)(3)
 -NONE-

                                             VALUE OF MOTOR VEHICLE CLAIMED AS EXEMPT PURSUANT TO NCGS 1C-1601(a)(3): $                                      0.00

         3. NCGS 1C-1601(a)(4) (NC Const., Article X, Section 1) PERSONAL OR HOUSEHOLD GOODS (The debtor's aggregate interest is not to
exceed $5,000 plus $1,000 for each dependent of the debtor, not to exceed $4,000 total for dependents). The number of dependents for exemption
purposes is ~.
                                                               Owner
                                                                                                                                            Claimed as Exempt
                                                               (H)Husband                                                             Net    Pursuant to NCGS
 Description                                        Market (W)Wife                   Lien                     Amount
 of Property                                         Value (J)Joint                  Holder                   of Lien               Value          1C-1601(a)(4)

 Officellbrary                                                                                                                   5,584.00               5,000.00
 furnishini:s                                   5,584.00

                                                                            VALUE CLAIMED AS EXEMPT PURSUANT TO NCGS 1C-1601(a)(4): $                  5,000.00

             4. NCGS 1 C-1601 (a)(5) TOOLS OF TRADE (The debtor's aggregate interest is not to exceed $2,000 in value).

                                                      Owner
                                                      (H)Husband                                                           Net       Value Claimed as Exempt
                                           Market (W)Wife               Lien                      Amount of
  Description                              Value I (J)Joint             Holdef                         Lien              Value Pursuant to NCGS 1 C-1601 (a)(5)
  Laptop and printer                      500.00                                                                        500.00                            500.00

                                                                           VALUE CLAIMED AS EXEMPT PURSUANT TO NCGS 1C-1601(a)(5): $                      500.00

             5. NCGS 1C-1601(a)(6) LIFE INSURANCE (NC Const., Article X, Section 5).
                                                                                                                                                             Cash
  Description\lnsured\Last Four Digits of Policy Number\Beneficiary(if child, initials only)                                                                 Value
  MetUfe                                                                                                                                                      0.00
  Northwestern Mutual                                                                                                                                         0.00
 Schedule C-1 - Property Claimed as Exempt - 4/2006
                                                                                                                                             Best Case Bankruptcy
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                                                                           43

             6. NCGS 1C-1601(a)(7) PROFESSIONALLY PRESCRIBED HEALTH AIDS (For Debtor or Debtor's Dependents, no limit on value).



I -NONE-
  Description

        7. NCGS 1C-1601(a)(8) COMPENSATION FOR PERSONAL INJURY, INCLUDING COMPENSATION FROM PRIVATE DISABILITY
POLICIES OR ANNUITIES, OR COMPENSATION FOR DEATH OF A PERSON UPON WHOM THE DEBTOR WAS DEPENDENT FOR SUPPORT.
COMPENSATION NOT EXEMPT FROM RELATED LEGAL, HEALTH OR FUNERAL EXPENSE.

 Description AND Source of Compensation, Including
 Name (If child, initials only) & Last Four Digits of Account Number of anv Disabilitv Policv/Annuitv
 -NONE-

         8. NCGS 1 C-1601 (a)(2) ANY PROPERTY (Debtor's aggregate interest in any property is not to exceed $5,000 in value of any unused
exemption amount to which the debtor is entitled under NCGS 1 C-1601 (a)(1 )).

                                                     Owner
                                                     (H) Husband
 Description of Property                  Market (W)Wife               Lien                       Amount            Net       Value Claimed as Exempt
 and Address                              Value (J)Joint               Holder                      of Lien        Value Pursuant to NCGS 1C-1601(a)(2)
 2507 South Bald                  600,000.00                           Wachovia               451,232.00     142,893.00                        5,000.00
 Head Wynd                                                             County of                5,875.00
 Bald Head Island,                                                     Brunswick
 NC

                                                                          VALUE CLAIMED AS EXEMPT PURSUANT TO NCGS 1C-1601(a)(2): $            5,000.00

          9. NCGS 1C-1601(a)(9) and 11 U.S.C. § 522 INDIVIDUAL RETIREMENT PLANS & RETIREMENT FUNDS, as defined in the Internal
Revenue Code, and any plan treated in the same manner as an individual retirement plan, including individual retirement accounts and Roth retirement
accounts as described in §§ 408(a) and 408A of the Internal Revenue Code, individual retirement annuities as described in § 408(b) of the Internal
Revenue Code, accounts established as part of a trust described in § 408(c) of the Internal Revenue Code, and funds in an account exempt from
taxation under § 401, 403, 408, 408A, 414, 457, or 51 O(a) of the Internal Revenue Code. For purposes of this subdivision, "Internal Revenue Code"
means Code as defined in G.S. 105-228.90.

T pe of Account\Location of Account\Last Four Digits of Account Number
 -NONE-

          10. NCGS 1 C-1601 (a)(1 0) FUNDS IN A COLLEGE SAVINGS PLAN, as qualified under § 529 of the Internal Revenue Code, and that are not
otherwise excluded from the estate pursuant to 11 U.S.C. §§ 541 (b)(5)-(6), (e), not to exceed a cumulative limit of $25,000. If funds were placed in a
college savings plan within the 12 months prior to filing, the contributions must have been made in the ofdinary course of the debtor's financial affairs
and must have been consistent with the debtor's past pattern of contributions. The exemption applies to funds for a child of the debtor that will actually
be used for the child's college or university expenses.

                    s Plan\Last Four Di its of Account Number\Value\lnitials of Child Beneficia



        11. NCGS 1C-1601(a)(11) RETIREMENT BENEFITS UNDER THE RETIREMENT PLANS OF OTHERSTATES AND GOVERNMENTAL
UNITS OF OTHER STATES (The debtor's interest is exempt only to the extent that these benefis are exempt under the laws of the state or
governmental unit under which the benefi plan is established).

 Name of Retirement Plan\State Governmental Unit\Last Four Di
 -NONE-

         12. NCGS 1C-1601(a)(12) ALIMONY, SUPPORT, SEPARATE MAINTENANCE, AND CHILD SUPPORT PAYMENTS OR FUNDS THAT
HAVE BEEN RECEIVED OR TO WHICH THE DEBTOR iS ENTITLED (The debtor's interest is exempt to the extent the payments or funds are
reasonably necessary for the support of the debtor or any dependent of the debtor).

Type of Support\Amount\Location of Funds
 -NONE-




Schedule C-1 - Property Claimed as Exempt                                                                                             Page 2 of 4 Pages
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         13. TENANCY BY THE ENTIRETY. The following property is claimed as exempt pursuant to 11 U.S.C. § 522 and the law of the State of
North Carolina pertaining to property held as tenants by the entirety.

Description of                                   Market Lien                                                                 Amount                                 Net
Property and Address                             Value Holder                                                                  of Lien                            Value
-NONE-
                                                                                                               VALUE CLAIMED AS EXEMPT: $                          0.00

            14. NORTH CAROLINA PENSION FUND EXEMPTIONS

c=-NONE-
            15. OTHER EXEMPTIONS CLAIMED UNDER LAWS OF THE STATE OF NORTH CAROLINA

            Debtor earnings necessary to support family (all earnings from last 60 days), N.C. Gen. Stat.
a.         & 1-362                                                                                                                                               71.00
            Debtor earnings necessary to support family (all earnings from last 60 days), N.C. Gen. Stat.
b.         & 1-362                                                                                                                                             780.27

            16. FEDERAL PENSION FUND EXEMPTIONS

c=-NONE-
            17. OTHER EXEMPTIONS CLAIMED UNDER NONBANKRUPTCY FEDERAL LAW

c=-NONE-
            18. RECENT PURCHASES

            (a). List tangible personal property purchased by the debtor within ninety (90) days of the filng of the bankruptcy petition.
                                                                                  Market Lien                                               Amount                  Net
 Description                                                                      Value Holder                                               of Lien              Value
-NONE-

          (b). List any tangible personal property from 18(a) that is directly traceable to the liquidation or conversion of property that may be exempt
and that was not acquired by transferring or using additional property.

 Description of Replacement Propert                                            Description of Property Liquidated or Converted that Ma Be Exempt




Schedule C-1 - Property Claimed as Exempt                                                                                                          Page 3 of 4 Pages

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            19. The debtor's property is subject to the following claims:

a. Of the United States or its agencies as provided by federal law.
b. Of the State of North Carolina or its subdivisions for taxes, appearance bonds or fiduciary bonds;
c. Of a lien by a laborer for work done and performed for the person claiming the exemption, but only as to the specific property affected.

d. Of a lien by a mechanic for work done on the premises, but only as to the specific property affected.
e. FOf payment of obligations contracted for the purchase of specific real property affected.
f. For contractual security interests in specific property affected; provided, that the exemptions shall apply to the debtor's household goods
             notwithstanding any contract for a nonpossessory, nonpurchase money security interest in any such goods.
g. For statutory liens, on the specific property affected, other than judicial liens.

h. For child support, alimony or distributive award order pursuant to Chapter 50 of the General Statutes of North Carolina.

i. For criminal restitution orders docketed as civil judgments pursuant to G.S. 15A-1340.38.
j. Debts of a kind specified in 11 U.S.C. § 523(a)(1) (certain taxes), (5) (domestic support obligations).

k. Debts of a kind specified in 11 U.S.C. § 522(c).

                                           Nature of                                   Amount of Description of                               Value                 Net
Claimant                                   Claim                                          Claim Property                                 of Property              Value
                                                                                                  1211 Champions Point
                                                                                                  Drive
                                                                                                  Durham, NC 27712
Bank of America                            Primary Mortgage                         268,121.00 (Propert occupied        by
County of Durham                           Propert taxes                              4,483.00 former spouse)                            90,000.00                 0.00
                                           Primary mortgage
Bank of America                            (Commercial Loan)
                                                                                  1,301,973.83
Wachovia Bank, NA                          Home equity line                         506,224.84 222 Tennwood Court
Bank of America                            Home equity line                          47,737.00 Durham, NC 27712
County of Durham                           Prooertv Taxes                            25,846.00 (Value listed is estimate)              1,450,000.00                0.00
                                                                                                  Toyota Prius (2007)
                                                                                                  (Ex-wife's car by divorce
Wachovia Dealer                                                                                   agreement but loan is in
Services                                                                              23,645.80 Debtor's name)                                 0.00                0.00


            None of the property listed in paragraph 18(a), except qualified replacement property under 18(b), has been included in this claim of
exemptions.

            None of the claims listed in paragraph 19 is subject to this claim of exemptions.


          i declare that to the extent any exemptions i have claimed appear on its face to exceed the amount allowed by the applicable statute, i claim
only the maximum amount allowed by statute.

                                     UNSWORN DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF INDIVIDUAL
                                                TO SCHEDULE C-1 - PROPERTY CLAIMED AS EXEMPT

            I, Rodney Allen McCowan , declare under penalty of perjury that I have read the foregoing Schedule C-1 - Property Claimed as
Exempt, consisting of 4 sheets, and that they are true and correct to the best of my knowledge, information and belief.




 Executed on: December 21, 2009                                                                lsI Rodney Allen McCowan
                                                                                               Rodney Allen McCowan
                                                                                                                              Debtor




Schedule C-1 - Property Claimed as Exempt                                                                                                        Page 4 of 4 Pages
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   In re            Rodney Allen McCowan                                                                                             Case No.       09-10347-8
                                                                                                     Debtor

                                      SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by propert of the debtor as of
 the date of fiing of the petition. The complete account number of     any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds oftrust, and
 other security interests.
          List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of   the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, I i U.S.c. § liZ and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
      If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is fied, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
      If the claim is contingent, place an "X" in the column labeled "Contingent". If       the claim is unliquidated, place an "X" in the column labeled "Unliquidated". Ifthe
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of              these three columns.)
      Total the columns labeled "Amount of       Claim Without Deducting Value of       Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of           Claim" also on the Summary of Schedules and, if     the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
 D Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                               C    Husband, Wife, Joint, or Community                           C    U   0      AMOUNT       OF
               CREDITOR'S NAME                                 0                                                                 0    N   i
                                                                                                                                                   CLAIM
                                                               0    H            DATE CLAIM WAS INCURRED,                        N    L   S
                                                                                                                                                                          UNSECURED
            AND MAILING ADDRESS                                E                                                                 T    I   p       WITHOUT
             INCLUDING ZIP CODE,                               B    w              NATURE OF LIEN, AND                           i    Q   u      DEDUCTING                PORTION, IF
            AND ACCOUNT NUMBER
                                                               T    J             DESCRIPTION AND VALUE                          N    u   T
                                                                                                                                                  VALUE OF                   ANY
                                                               0    C                   OF PROPERTY                              G    i   E
                                                               R                                                                 E    0   0     COLLATERAL
              (See instructions above.)                                                   SUBJECT TO LIEN                        N    A
                                                                                                                                 T    T
Account      No.                                                        Primary mortgage (Commercial Loan)                            E
                                                                                                                                      0

Bank of America                                                         222 Tennwood Court
Attn: Managing Agent                                                    Durham, NC 27712
101 North Tryon Street                                                  (Value listed is estimate)
                                                               X-
Charlotte, NC 28255-0001

                                                                        Value $                          1,450,000.00                             1,301,973.83                         0.00
Account No.                                                             Home equity line

Bank of America                                                         222 Tennwood Court
Attn: Managing Agent                                                    Durham, NC 27712
PO Box 21848                                                            (Value listed is estimate)
                                                                    -
Greensboro, NC 27420

                                                                         Value $                         1,450,000.00                                 47,737.00                 47,737.00
Account       No.                                                       Primary Mortgage

Bank of America                                                         1211 Champions Point Drive
Attn: Managing Agent                                                    Durham, NC 27712
475 CrossPoint Parkway, PO Box 9000                                     (Property occupied by former spouse)
                                                                    -
Getzvile, NY 14068-9000
                                                                         Value $                               90,000.00                             268,121.00               178,121.00
Account       No.                                                       Propert taxes


County of Brunswick                                                     2507 South Bald Head Wynd
Attn: Managing Agent                                                    Bald Head Island, NC
PO Box 29                                                           -
Bolivia, NC 28422



- 2        continuation sheets attached
                                                                         Value $                              600,000.00

                                                                                                                   (Total of
                                                                                                                               Subtotal
                                                                                                                               this page)
                                                                                                                                                          5,875.00

                                                                                                                                                  1,623,706.83                225,858.00
                                                                                                                                                                                        0.00




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 B6D (Oflcial Form 6D) (12/07) - Coot.




   In re          Rodney Allen McCowan                                                                                              Case No.     09-10347-8
                                                                                                     Debtor


                                     SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                         (Continuation Sheet)


                                                               C                                                                C    U   D     AMOUNT       OF
                                                                    Husband, Wife, Joint, or Communitv
                                                               0                                                                0    N   i
             CREDITOR'S NAME                                                      DATE CLAIM WAS INCURRED,                      N    L   s       CLAIM
                                                               D    H
                                                                                                                                         p      WITHOUT             UNSECURED
           AND MAILING ADDRESS                                 E
                                                                    w                NATURE OF LIEN, AND                        T    i
                                                                                                                                                                    PORTION, IF
                                                               8                                                                I    Q   u     DEDUCTING
            INCLUDING ZIP CODE,                                T    J              DESCRIPTION AND VALUE                        N    U   T                             ANY
           AND ACCOUNT NUMBER                                  0                             OF PROPERTY                        G    i   E      VALUE OF
                                                                    C
               (See instructions.)                              R                          SUBJECT TO LIEN
                                                                                                                                E    D   D     COLLATERAL
                                                                                                                                N    A
                                                                                                                                T    T
Account No.                                                              Property Taxes                                              E
                                                                                                                                     D


County of Durham                                                         222 Tennwood Court
                                                                         Durham, NC 27712
Attn: Managing Agent
Post Office Box 3397                                                     (Value listed is estimate)
                                                                    -
Durham, NC 27702

                                                                         Value $                          1,450,000.00                             25,846.00              25,846.00
Account     No.                                                          Propert taxes


County of Durham                                                         1211 Champions Point Drive
                                                                         Durham, NC 27712
Attn: Managing Agent
Post Office Box 3397                                                     (Propert occupied by former spouse)
                                                                    -
Durham, NC 27702

                                                                         Value $                              90,000.00                                 4,483.00            4,483.00
Account     No.                                                          Student loan for son

Salle Mae
Attn: Managing Agent
PO Box 9500                                                         -
Wilkes Barre, PA 18773-9500
                                                                         Value $                                   0.00                                 2,920.19            2,920.19
Account     No.                                                          Student loan for son

US Department of Education
Attn: Managing Agent
PO Box 530260                                                       -
Atlanta, GA 30353-0260
                                                                         Value $                                    0.00                            41,124.31             41,124.31
Account     No.                                                          Primary Mortgage

Wachovia                                                                 2507 South Bald Head Wynd
                                                                         Bald Head Island, NC
Attn: Managing Agent
PO Box 530554                                                        -
Atlanta, GA 30353
                                                                          Value $                             600,000.00                          451,232.00                      0.00
                                                                                                                               Subtotal
 Sheet~ of 2           continuation sheets attached to
                                                                                                                   (Total of   this page)
                                                                                                                                                   525,605.50              74,373.50
 Schedule of Creditors Holding Secured Claims




                                                                                                                                                                   Best Case Bankruptcy
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                                                                                 43
 B6D (Offcial Form 6D) (12/07) - Cont.




   In re           Rodney Allen McCowan                                                                                         Case No.     09-10347-8
                                                                                                     Debtor


                                      SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                         (Continuation Sheet)


                                                                C   Husband, Wife, Joint, or Communitv                      C    U    0    AMOUNT   OF
                                                                0                                                           0    N    i
             CREDITOR'S NAME                                    0                 DATE CLAIM WAS INCURRED,                  N    L    S       CLAIM
           AND MAILING ADDRESS                                      H
                                                                                                                            T    i    p      WITHOUT        UNSECURED
                                                                E
                                                                    w                NATURE OF LIEN, AND                    I    Q    u                      PORTION, IF
            INCLUDING ZIP CODE,                                 B
                                                                                   DESCRIPTION AND VALUE                                    DEDUCTING
                                                                T   J                                                       N    U    T
                                                                                                                                             VALUE OF           ANY
           AND ACCOUNT NUMBER                                   0   C                       OF PROPERTY                     G    i    E
                                                                R                                                           E    0    0    COLLATERAL
                  (See instrctions.)                                                      SUBJECT TO LIEN                   N    A
                                                                                                                            T    T
Account    No.                                                          Home equity line                                         E
                                                                                                                                 0

Wachovia Bank, NA                                                       222 Tennwood Court
                                                                        Durham, NC 27712
Attn: Managing Agent
PA1327, 123 South Broad Street                                          (Value listed is estimate)
                                                                    -
Philadelphia, PA 19109
                                                                         Value $                          1,450,000.00                        506,224.84        358,198.67
Account     No.                                                         Toyota Prius (2007)
                                                                        (Ex-wife's car by divorce agreement but
Wachovia Dealer Services                                                loan is in Debtor's name)
Attn: Managing Agent
PO Box 25341                                                        -
Santa Ana, CA 92799-5341

                                                                         Value $                                  0.00                         23,645.80          23,645.80
Account     No.




                                                                         Value $

Account     No.




                                                                          Value $

Account     No.




                                                                          Value $
                                                                                                                           Subtotal
 Sheet 2          of 2      continuation sheets attached to                                                                                   529,870.64         381,844.47
 Schedule of      Creditors Holding Secured Claims                                                                (Total ofthis page)
                                                                                                                                Total       2,679,182.97         682,075.97
                                                                                                    (Report on Summary of Schedules)

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                                                                                                                                                           Best Case Bankrptcy
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B6E (Offcial Form 6E) (12107)




 In re            Rodney Allen McCowan                                                                                           Case No.          09-10347-8
                                                                                                Debtor

                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
          A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
    to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of
                                                                                                                                                                                 the
    account number, if   any, of all entities holding priority claims against the debtor or the propert of                                             the petition. Use a separate
                                                                                                              the debtor, as of the date of the filing of

    continuation sheet for each type of priority and label each with the type of priority.
          The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
    so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
    Do not disclose the child's name. See, I i U.sC. § i 12 and Fed. R. Bankr. P. 1007(m).
         If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
    schedule of  creditors, and complete Schedule H-Codebtors. Ifajoint petition is fied, state whether the husband, wife, both of      them, or the marital community may be
    liable on each claim by placing an "H," "W," "J," or "c" in the column labeled "Husband, Wife, Joint, or Community." If        the claim is contingent, place an "X" in the
    column labeled "Contingent." If    the claim is unliquidated, place an "X" in the column labeled "Unliquidated." Ifthe claim is disputed, place an "X" in the column labeled
    "Disputed." (You may need to place an "X" in more than one of               these three columns.)
         Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
    "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
         Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
    listed on this Schedule E in the box labeled "Totals" on the last sheet of    the completed schedule. Individual debtors with primarily consumer debts report this total
    also on the Statistical Summary of    Certain Liabilities and Related Data.
         Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
    priority listed on this Schedule E in the box labeled "Totals" on the last sheet of  the completed schedule. Individual debtors with primarily consumer debts report this
    total also on the Statistical Summary of   Certain Liabilities and Related Data.

    o Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

    TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if                              claims in that category are listed on the attached sheets)

    . Domestic support obligations
         Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of             the debtor, or the parent, legal guardian, or responsible relative
    of   such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in i i U.S.c. § 507(a)(I).

    o Extensions of credit in an involuntary case
          Claims arising in the ordinary course of       the debtots business or financial affairs after the commencement of     the case but before the earlier of   the appointment ofa
    trstee or the order for relief. I I U.S.C. § 507(a)(3).

    o Wages, salaries, and commissions
        Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifYing independent sales
    representatives up to $ I 0,950* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
    occurred first, to the extent provided in i i U.S.c. § 507(a)(4).

    o Contributions to employee benefit plans
       Money owed to employee benefit plans for services rendered within 180 days immediately preceding the fiing of the original petition, or the cessation of business,
    whichever occurred first, to the extent provided in I I U.S.c. § 507(a)(5).

    o Certain farmers and fishermen
          Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in I I U.S.c. § 507(a)(6).

    o Deposits by individuals
          Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of propert or services for personal, family, or household use, that were not
    delivered or provided. i i U.S.c. § 507(a)(7).


    . Taxes and certain other debts owed to governmental units
          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in I I U.S.c. § 507(a)(8).

    o Commitments to maintain the capital of an insured depository institution
        Claims based on commitments to the FDIC, RTC, Director of the Offce of Thrift Supervision, Comptroller of         the Currency, or Board of Governors of the Federal
     Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. I i U.S.c. § 507 (a)(9).

    o Claims for death or personal injury while debtor was intoxicated
        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
     another substance. i i U.S.C. § 507(a)(I0).




     * Amounts are subject to adjustment on April 1,20 i 0, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                2        continuation sheets attached

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   In re          Rodney Allen McCowan                                                                                           Case No.      09-10347-8
                                                                                                     Debtor

                      SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                         (Continuation Sheet)


                                                                                                                             Domestic Support Obligations
                                                                                                                                          TYPE OF PRIORITY
                                                                C
                                                                0
                                                                    Husband, Wife, Joint, or Community
                                                                                                                             C
                                                                                                                             0
                                                                                                                                  U
                                                                                                                                  N
                                                                                                                                      D
                                                                                                                                      i                      AMOUNT     NOT I
             CREDITOR'S NAME,                                                                                                N    L   S                      ENTITLED    TO
                                                                D
           AND MAILING ADDRESS                                  E
                                                                    H
                                                                               DATE CLAIM WAS INCURRED                       T    i   p      AMOUNT          PRIORITY, IF ANY
            INCLUDING ZIP CODE,                                 B   w        AND CONSIDERA nON FOR CLAIM
                                                                                                                             i    Q   u      OF CLAIM
                                                               T                                                             N    U   T                                  AMOUNT
           AND ACCOUNT NUMBER                                       J
                                                                0   C
                                                                                                                             G    I   E                              ENTITLED   TO
                                                                                                                             E    D   D                                  PRIORITY
               (See instructions.)                              R
                                                                                                                             N    A
                                                                                                                             T    T
Account    No.
                                                                        Alimony                                                   E
                                                                                                                                  D


Laurie Hayakawa                                                                                                                                              0.00                I
1211 Champions Point
Durham, NC 27712                                                    -


                                                                                                                                                 2,300.00               2,300.00
Account     No.
                                                                        Child support

Laurie Hayakawa                                                                                                                                              0.00                I
1211 Champions Point
Durham, NC 27712                                                    -


                                                                                                                                                 2,571.00               2,571.00
Account     No.




                                                                                                                                                                                 I




Account     No.




                                                                                                                                                                                     i




Account     No.




                                                                                                                                                                                     I




                                                                                                                            Subtotal                          0.00                       I
 Sheet 1          of 2 continuation sheets attached to
                                                                                                                (Total of   this page)            4,871.00               4,871.00
 Schedule of Creditors Holding Unsecured Priority Claims




                                                                                                                                                               Best Case Bankrptcy
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               Case 09-10347-8-SWH                              Doc 20 Filed 12/21/09 Entered 12/21/09 16:38:32                                         Page 18 of
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 B6E (Offcial Form 6E) (12107) - Con!.




   In re          Rodney Allen McCowan                                                                                             Case No.       09-10347-8
                                                                                                     Debtor

                      SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                         (Continuation Sheet)

                                                                                                                                Taxes and Certain Other Debts
                                                                                                                                 Owed to Governmental Units
                                                                                                                                             TYPE OF PRIORITY

             CREDITOR'S NAME,
                                                                C
                                                                0   Husband, Wife, Joint, or Community
                                                                                                                               C
                                                                                                                               0
                                                                                                                                    U
                                                                                                                                    N
                                                                                                                                         D
                                                                                                                                         i                      AMOUNT     NOT I
                                                                                                                               N    L    s                      ENTITLED    TO
                                                                D
           AND MAILING ADDRESS                                  E
                                                                    H
                                                                               DATE CLAIM WAS INCURRED                         T    i    p      AMOUNT          PRIORITY, IF ANY
            INCLUDING ZIP CODE,                                 B   w        AND CONSIDERATION FOR CLAIM                       i    Q    u      OF CLAIM
                                                                T                                                              N    U    T                                  AMOUNT
           AND ACCOUNT NUMBER                                       J
                                                                0   C
                                                                                                                               G    I    E                             ENTITLED    TO
                                                                                                                               E    D    D
              (See instructions.)                               R
                                                                                                                               N    A
                                                                                                                                                                            PRIORITY
                                                                                                                               T    T
           No.                                                                                                                      E
Account
                                                                                                                                    D


County of Brunswick                                                                                                                                             0.00
Attn: Managing Agent                                                                                                                                                                I

PO Box 29                                                           -
Bolivia, NC 28422
                                                                                                                                                    6,154.00                6,154.00
Account     No.



County of Durham                                                                                                                                                0.00
Attn: Managing Agent                                                                                                                                                                I

Post Office Box 3397                                                -
Durham, NC 27702

                                                                                                                                                   25,846.00               25,846.00
Account     No.



IRS
                                                                                                                                                                Unknown
Centralized Insolvency Operations                                                                                                                                                   i

PO Box 21126                                                        -
Philadelphia, PA 19114-0326
                                                                                                                                                   Unknown                        0.00
Account     No.



NC Department of Revenue
                                                                                                                                                                Unknown
Attn: Managing Agent                                                                                                                                                                i

PO Box 25000                                                        -
Raleigh, NC 27640-0002
                                                                                                                                                    Unknown                       0.00
Account     No.




                                                                                                                                                                                        I




                                                                                                                              Subtotal                          0.00
 Sheet~ of 2                   continuation sheets attached to
                                                                                                                              this page)
                                                                                                                                                                                        I


 Schedule of      Creditors Holding Unsecured Priority Claims                                                     (Total of                         32,000.00              32,000.00
                                                                                                                                   Total                        0.00                    I

                                                                                                    (Report on Summary of Schedules)                36,871.00              36,871.00

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                Case 09-10347-8-SWH                             Doc 20 Filed 12/21/09 Entered 12/21/09 16:38:32                                                    Page 19 of
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 B6F (Offcial Form 6F) (12/07)




   In re            Rodney Allen McCowan                                                                                              Case No.           09-10347-8
                                                                                                     Debtor


                    SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
          State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
  debtor or the propert of    the debtor, as of the date of fiing of the petition. The complete account number of  any account the debtor has with the creditor is useful to the
                                                          the debtor chooses to do so. If    a minor child is a creditor, state the child's initials and the name and address of      the child's
  trustee and the creditor and may be provided if
  parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, I I U.S.C. § i 12 and Fed. R. Bankr. P. 1007(m). Do not
  include claims listed in Schedules D and E. If all creditors wil not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
  schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is fied, state whether the husband, wife, both of them, or the marital community may be
  liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
          If the claim is contingent, place an "X" in the column labeled "Contingent." If
                                                                                                                                                                                the
                                                                                                   the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If

  claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of            these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of   the completed schedule. Report this total also on the Summary of
  Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of
                                                                                                                                          Certain Liabilities and Related Data.


 D Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.
                                                                              C   Husband, Wife, Joint, or Community                                       C   U   D
                       CREDITOR'S NAME,                                       0                                                                            0   N   i
                       MAILING ADDRESS                                        D                                                                            N   L   S
                                                                                  H
                                                                              E                  DA TE CLAIM WAS INCURRED AND                              T   I   P
                     INCLUDING ZIP CODE,                                      B   w         CONSIDERA TI0N FOR CLAIM. IF CLAIM                             i   Q   u
                    AND ACCOUNT NUMBER                                        T   J                                                                        N   u   T   AMOUNT OF CLAIM
                                                                              0                IS SUBJECT TO SETOFF, SO STATE.                             G   I   E
                                                                                  C
                      (See instructions above.)                               R                                                                            E   D   D
                                                                                                                                                           N   A
                                                                                                                                                           T   T
Account      No.                                                                                                                                               E
                                                                                                                                                               D


AAC Credit Union
                                                                                  -
Attn: Managing Agent
904 Broadway Avenue NW
Grand Rapids, M149504-4415
                                                                                                                                                                                               0.00

Account      No.



Absolute Collection Services
                                                                                  -
Attn: Managing Agent
421 Fayettevile Street Mall #600
Raleigh, NC 27601
                                                                                                                                                                                        Unknown

Account       No.



Alice Marie Crawford
                                                                                  -
7501 SW Cherokee Ave.
Lawton, OK 73505

                                                                                                                                                                                        20,000.00

Account       No.



American Express
                                                                                  -
Attn: Managing Agent
PO Box 650448
Dallas, TX 75265-0448
                                                                                                                                                                                              61.21

                                                                                                                                                         Subtotal
   6       continuation sheets attached
                                                                                                                                                                                        20,061.21
                                                                                                                                             (Total of   this page)




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                                                                                 43
 B6F (Offcial Form 6F) (12107) - Coot.




   In re              Rodney Allen McCowan                                                                             Case No.    09-10347-8
                                                                                                     Debtor

                      SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                         (Continuation Sheet)




                                                                              C   Husband, Wife, Joint, or Community                 C   U   D
                         CREDITOR'S NAME,                                     0                                                      0   N   i
                                                                              D                                                      N   L   S
                         MAILING ADDRESS                                      E
                                                                                  H
                                                                                              DATE CLAIM WAS INCURRED AND            T   i   P
                       INCLUDING ZIP CODE,                                    B   w                                                  i   Q   u
                                                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM        N   U   T   AMOUNT OF CLAIM
                      AND ACCOUNT NUMBER                                      0               IS SUBJECT TO SETOFF, SO STATE.        G   i   E
                                                                                  C                                                  E   D   D
                        (See instructions above.)                             R
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No.                                                                                                                              E
                                                                                                                                         D


Bald Head Association
                                                                                  -
Attn: Managing Agent
PO Box 3030
Southport, NC 28461
                                                                                                                                                               152.25

Account    No.



Bank of America Line of Credit
                                                                                  -
Attn: Managing Agent
PO Box 15019
Wilmington, DE 19886-5019
                                                                                                                                                           12,108.00

Account    No.



Bank of America Visa
                                                                                  -
Attn: Managing Agent
PO Box 15019
Wilmington, DE 19886-5019
                                                                                                                                                           25,000.00

Account    No.



California DMV
                                                                                  -
Attn: Managing Agent
PO Box 942894
Sacramento, CA 94294-0894
                                                                                                                                                             1,364.00

Account     No.



Chase I Circuit City
                                                                                  -
Attn: Managing Agent
800 Brooksedge Boulevard
Columbus, OH 43081
                                                                                                                                                                   0.00

Sheet no.         1      of~
                         sheets attached to Schedule of                                                                             Subtotal
                                                                                                                           (Total ofthis page)
                                                                                                                                                            38,624.25
Creditors Holding Unsecured Nonpriority Claims




                                                                                                                                                    Best Case Bankruptcy
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    In re         Rodney Allen McCowan                                                                                          Case No.        09-10347-8
                                                                                                     Debtor

                  SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                         (Continuation Sheet)




                                                                              C   Husband, Wife, Joint, or Community                             C   U   D
                     CREDITOR'S NAME,                                         0                                                                  0   N   i
                                                                              D                                                                  N   L   S
                     MAILING ADDRESS                                          E
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                                                                                              DATE CLAIM WAS INCURRED AND                        T   i   P
                   INCLUDING ZIP CODE,                                        B   w                                                              i   Q   u
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                                                                                            CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
                  AND ACCOUNT NUMBER                                          0                  IS SUBJECT        TO SETOFF, SO STATE.          G   i   E
                                                                                  C
                    (See instructions above.)                                 R                                                                  E
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                                                                                                                                                 T   T
Account     No.                                                                                                                                      E
                                                                                                                                                     D


Corning FCU
                                                                                  -
Attn: Managing Agent
One Credit Union Plaza
Corning, NY 14830
                                                                                                                                                                              0.00

Account No.


Credit Collection Service
                                                                                  -
Attn: Managing Agent
Two Wells Avenue, Dept. 9134
Newton Center, MA 02459
                                                                                                                                                                        Unknown

Account     No.



Direct Loans
                                                                                  -
Attn: Managing Agent
PO Box 7202
Utica, NY 13504-7202
                                                                                                                                                                              0.00

Account No.


Discover Card
                                                                                  -
Attn: Managing Agent
PO Box 30943
Salt Lake City, UT 84130
                                                                                                                                                                         6,814.28

Account     No.



Duke Primary Care
                                                                                  -
Attn: Managing Agent
PO Box 70841
Charlotte, NC 28272
                                                                                                                                                                        Unknown

Sheet no.     ~ of~      sheets attached to Schedule of
Creditors Holding Unsecured Nonpriority Claims                                                                                      (Total of
                                                                                                                                                Subtotal
                                                                                                                                                this page)
                                                                                                                                                                         6,814.28




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                                                                                 43
 B6F (Offcial Form 6F) (12/07) - ConI.




   In re          Rodney Allen McCowan                                                                                 Case No.        09-10347-8
                                                                                                     Debtor

                  SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                         (Continuation Sheet)




                                                                              C   Husband, Wife, Joint, or Community                    C   U   D
                     CREDITOR'S NAME,                                         0                                                         0   N   i
                                                                              D                                                         N   L   s
                     MAILING ADDRESS                                          E
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                                                                                              DATE CLAIM WAS INCURRED AND               T   i   P
                   INCLUDING ZIP CODE,                                        B   w                                                     i   Q   u
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                                                                                            CONSIDERATION FOR CLAIM. IF CLAIM           N   U   T   AMOUNT OF CLAIM
                  AND ACCOUNT NUMBER                                          0 c             IS SUBJECT TO SETOFF, SO STATE.           G   i   E
                    (See instructions above.)                                 R                                                         E
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Account    No.                                                                                                                              E
                                                                                                                                            D


Duke University Hospital
                                                                                  -
Attn: Managing Agent
P.O. Box 70841
Charlotte, NC 28272-0841
                                                                                                                                                              Unknown

Account    No.



Freddie Maryland
                                                                                  -
4518 SWAtom
Lawton, OK 73505

                                                                                                                                                              25,000.00

Account    No.



GE Capital Credit Services
                                                                                  -
Attn: Managing Agent
7905 Quivira Road
Shawnee Mission, KS 66215-2732
                                                                                                                                                                     0.00

Account    No.



J.L Walston & Associates, Inc.
                                                                                  -
Attn: Managing Agent
1530 N.Gregson St.
Durham, NC 27701
                                                                                                                                                               Unknown

Account     No.



Kross Lieberman & Stone
                                                                                  -
Attn: Managing Agent
PO Box 17449
Raleigh, NC 27619
                                                                                                                                                               Unknown

Sheet no.    .- of~      sheets attached to Schedule of
Creditors Holding Unsecured Nonpriority Claims                                                                             (Total of
                                                                                                                                       Subtotal
                                                                                                                                       this page)
                                                                                                                                                              25,000.00




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                                                                                                                                                       Best Case Bankrptcy
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    In re          Rodney Allen McCowan                                                                                  Case No.        09-10347-8
                                                                                                     Debtor

                  SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                         (Continuation Sheet)




                                                                              C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                          0                                                           0   N   i
                                                                              D                                                           N   L   S
                     MAILING ADDRESS                                          E
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                                                                                               DATE CLAIM WAS INCURRED AND                T   i   P
                   INCLUDING ZIP CODE,                                        B   w                                                       i   Q   u
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                                                                                            CONSIDERA nON FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                  AND ACCOUNT NUMBER                                          0 c                IS SUBJECT TO SETOFF, SO STATE.          G   i   E
                    (See instrctions above.)                                  R                                                           E   D   D
                                                                                                                                          N   A
                                                                                                                                          T   T
Account     No.                                                                       Obligations arising from prior marriage                 E
                                                                                                                                              D


Laurie Hayakawa
1211 Champions Point Dr.                                                          .
Durham, NC 27712

                                                                                                                                                                 Unknown

Account     No.



Palo Alto Medical Foundation
                                                                                  -
Attn: Managing Agent
PO Box 3757
Sunnyvale, CA 94086-3757
                                                                                                                                                                    173.00

Account     No.



Private Diagnostics Clinic
                                                                                  -
Attn: Managing Agent
PO Box 900002
Raleigh, NC 27675
                                                                                                                                                                 Unknown

Account No.


RCS
                                                                                  -
Attn: Managing Agent
PO Box 7229
Westchester, IL 60154
                                                                                                                                                                    600.00

Account     No.



Revenue Production Mgmt., Inc.
                                                                                  -
Attn: Managing Agent
991 Oak Creek Drive
Lombard, IL 60148
                                                                                                                                                                 Unknown

Sheet no.  4           of~
                         sheets attached to Schedule of                                                                                  Subtotal
                                                                                                                                         this page)
                                                                                                                                                                    773.00
Creditors Holding Unsecured Nonpriority Claims                                                                               (Total of




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    In re         Rodney Allen McCowan                                                                                 Case No.        09-10347-8
                                                                                                     Debtor

                  SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                         (Continuation Sheet)




                                                                              C   Husband, Wife. Joint, or Community                    C   U   0
                     CREDITOR'S NAME,                                         0                                                         0   N   i
                                                                              0                                                         N   L   s
                     MAILING ADDRESS                                          E
                                                                                  H
                                                                                              DATE CLAIM WAS INCURRED AND               T   i   P
                   INCLUDING ZIP CODE,                                        B   w                                                     i   Q   u
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                                                                                            CONSIDERATION FOR CLAIM. IF CLAIM           N   U   T   AMOUNT OF CLAIM
                  AND ACCOUNT NUMBER                                          0               is SUBJECT TO SETOFF, SO STATE.           G   i   E
                                                                                  C                                                         0   0
                    (See instructions above.)                                 R                                                         E
                                                                                                                                        N   A
                                                                                                                                        T   T
Account     No.                                                                                                                             E
                                                                                                                                            0

RMS
                                                                                  -
Attn: Managing Agent
PO Box 539
Richfield, OH 44286
                                                                                                                                                               Unknown

Account     No.



Salle Mae
Attn: Managing Agent                                                          X-
PO Box 9555
Wilkes Barre, PA 18773
                                                                                                                                                                2,920.00

Account     No.



Slater Tenaglia Fritz & Hunt
                                                                                  -
Attn: Managing Agent
301 Third Street
Ocean City, NJ 08226
                                                                                                                                                               Unknown

Account     No.



Stanford Hospital & Clinics
                                                                                  -
Attn: Managing Agent
PO Box 60000
San Francisco, CA 94160-0001
                                                                                                                                                                    55.62

Account     No.                                                                       Divorce attorney

Tharrington Smith
                                                                                  -
Attn: Managing Agent
PO Box 1151
Raleigh, NC 27602
                                                                                                                                                               12,317.85

Sheet no.    ~ of~       sheets attached to Schedule of
Creditors Holding Unsecured Nonpriority Claims                                                                             (Total of
                                                                                                                                       Subtotal
                                                                                                                                       this page)
                                                                                                                                                               15,293.47




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   In re          Rodney Allen McCowan                                                                                           Case No.         09-10347-8
                                                                                                     Debtor

                  SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                         (Continuation Sheet)




                                                                              C   Husband, Wife, Joint, or Community                               C    U   0
                     CREDITOR'S NAME,                                         0                                                                    0    N   i
                                                                              0                                                                    N    L   S
                     MAILING ADDRESS                                          E
                                                                                  H
                                                                                              DATE CLAIM WAS INCURRED AND                          T    i   P
                   INCLUDING ZIP CODE,                                        B   w                                                                i    Q   u
                                                                              T   J
                                                                                            CONSIDERATION FOR CLAIM. IF CLAIM                      N    U   T   AMOUNT OF CLAIM
                  AND ACCOUNT NUMBER                                          0                  is SUBJECT        TO SETOFF, SO STATE.            G    i   E
                                                                                  C                                                                     0   0
                    (See instructions above.)                                 R                                                                    E
                                                                                                                                                   N    A
                                                                                                                                                   T    T
Account    No.                                                                                                                                          E
                                                                                                                                                        0

Toyota Motor Leasing
                                                                                  -
Mail Drop Fn 22
19001 South Western Avenue
Torrance, CA 90501-1106
                                                                                                                                                                                  0.00

Account    No.



Treyburn Residential HOA
                                                                                  -
Attn: Managing Agent
PO Box 11904
Newark, NJ 07101-4904
                                                                                                                                                                            1,073.53

Account No.


US Dept. of Education
                                                                                  -
Attn: Managing Agent
PO Box 530260
Atlanta, GA 30353
                                                                                                                                                                          41,124.00

Account    No.                                                                        Former spouse's Prius

Wachovia Dealer Services
                                                                                  -
Attn: Managing Agent
PO Box 25341
Santa Ana, CA 92799
                                                                                                                                                                           Unknown

Account     No.



WFS Financial
                                                                                  -
Attn: Credit Bureau Dispute
PO Box 1697
Wintervile, NC 28590-1697
                                                                                                                                                                                  0.00

Sheet no.    --       of -- sheets attached to Schedule of
Creditors Holding Unsecured Nonpriority Claims                                                                                        (Total of
                                                                                                                                                  Subtotal
                                                                                                                                                  this page)
                                                                                                                                                                           42,197.53

                                                                                                                                                       Total
                                                                                                                                                                         148,763.74
                                                                                                                        (Report on Summary of Schedules)

                                                                                                                                                                   Best Case Bankruptcy
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B6G (Offcial Form 6G) (12107)




 In re           Rodney Allen McCowan                                                                                           Case No.   09-10347-8
                                                                                               Debtor

                       SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
           Describe all executory contracts of any nature and all unexpired leases of real or personal propert. Include any timeshare interests. State nature
           of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
                                                                                                                                                   the leases or contracts,
           complete mailing addresses of all other parties to each lease or contract described. If a minor child is a part to one of
           state the child's initials and the name and address of               the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
           disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
           o Check this box if debtor has no executory contracts or unexpired leases.
                                                                                 Description of Contract or Lease and Nature of Debtor's Interest.
               Name and Mailing Address, Including Zip Code,                          State whether lease is for nonresidential real propert.
                     of Other Parties to Lease or Contract                              State contract number of any government contract.


                  BMW Financial Services                                                             BMW 550i Sedan
                  Attn: Managing Agent
                  PO Box 9001065
                  Louisvile, KY 40290-1065




       o
     _ continuation sheets attached to Schedule of                       Executory Contracts and Unexpired Leases
                                                                                                                                                             Best Case Bankruptcy
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            Case 09-10347-8-SWH                               Doc 20 Filed 12/21/09 Entered 12/21/09 16:38:32                              Page 27 of
                                                                               43
B6H (Offcial Form 6H) (12/07)




 In re          Rodney Allen McCowan                                                                               Case No.       09-10347-8
                                                                                           Debtor

                                                                     SCHEDULE H - CODEBTORS
           Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
    by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community propert state,
    commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
    Wisconsin) within the eight year period immediately preceding the commencement of     the case, identify the name of the debtor's spouse and of
    any former spouse who resides or resided with the debtor in the community propert state, commonwealth, or territory. Include all names used
    by the nondebtor spouse during the eight years immediately preceding the commencement of
                                                                                                            this case. If a minor child is a codebtor or a creditor,

    state the child's initials and the name and address ofthe child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
    disclose the child's name. See, 1 i U.S.C. §i 12 and Fed. R. Bankr. P. 1007(m).
    o Check this box if debtor has no codebtors.
               NAME AND ADDRESS OF CODEBTOR                                         NAME AND ADDRESS OF CREDITOR

                  Brandon McCowan                                                              Salle Mae
                  PO Box 90102                                                                 Attn: Managing Agent
                  Raleigh, NC 27675                                                            PO Box 9555
                                                                                               Wilkes Barre, PA 18773

                  Laurie Hayakawa                                                              Bank of America
                  1211 Champions Pt. Dr.                                                       Attn: Managing Agent
                  Durham, NC 27712                                                             101 North Tryon Street
                                                                                               Charlotte, NC 28255-0001




       o
               continuation sheets attached to Schedule of Codebtors
                                                                                                                                                     Best Case Bankrptcy
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          Case 09-10347-8-SWH                         Doc 20 Filed 12/21/09 Entered 12/21/09 16:38:32                                                  Page 28 of
B61 (Offcial Form 61) (12/07)
                                                                       43

 In re Rodney Allen McCowan                                                                                                  Case   No.        09-10347-8
                                                                                       Debtor(s)

                                 SCHEDULE I - CURRNT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases fied by joint debtors and by every maried debtor, whether or not ajoint petition is
fied, unless the spouses are separated and ajoint petition is not fied. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
Debtor's Marital Status:                                                                DEPENDENTS OF DEBTOR AND SPOUSE
                                                 RELATIONSHIP(S):                                           AGE(S):
      Divorced                                        Child                                                                    10
                                                      Child                                                                    12
Emolovment:                                                          DEBTOR                                                                SPOUSE
Occupation                                    Venture Philanthropy
Name of      Employer                         New Profit Inc.
 How long employed                            13 months
Address of      Employer                      Two Canal Park
                                              Cambridge, MA 02141
 INCOME: (Estimate of average or projected monthly income at time case filed)                                                        DEBTOR                       SPOUSE
 i. Monthly gross wages, salar, and commissions (Prorate ifnot paid monthly)                                                   $          25,000.00         $           N/A
 2. Estimate monthly overtime                                                                                                  $               0.00         $           N/A


 3. SUBTOTAL                                                                                                                   $          25,000.00         $           N/AI


 4. LESS PAYROLL DEDUCTIONS
      a. Payroll taxes and social security                                                                                     $          11,066.00         $           N/A
      b. Insurance                                                                                                             $               0.00         $           N/A
      c. Union dues                                                                                                            $               0.00         $           N/A
      d. Other (Specify): County of Durham - Garnishment                                                                       $           2,307.70         $           N/A
                                                                                                                               $               0.00         $           N/A

 5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                                             $          13,373.70         $           N/A

 6. TOTAL       NET        MONTHLY     TAKE   HOME     PAY                                                                     $          11,626.30         $           N/A


 7. Regular income from operation of           business or profession or farm (Attach detailed statement)                       $               0.00        $           N/A
 8. Income from real property                                                                                                   $              90.00        $           N/A
 9. Interest and dividends                                                                                                      $               0.00        $           N/A
 10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that of
                                                                                                                                $               0.00        $           N/A
       dependents listed above
 I I. Social security or government assistance
 (Specify):                                                                                                                     $               0.00        $           N/A
                                                                                                                                $               0.00        $           N/A
 12. Pension or retirement income                                                                                               $               0.00        $           N/A
 13. Other monthly income
 (Specify):                                                                                                                     $               0.00        $           N/A
                                                                                                                                $               0.00        $           N/A


 14. SUBTOTAL OF LINES 7 THROUGH 13                                                                                             $              90.00        $           N/A

 15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                                               $         11,716.30         $           N/A

                                                                                                                                           $            11,716.30
 16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)
                                                                                                 (Report also on Summary of Schedules and, if applIcable, on
                                                                                                 Statistical Summar of Certain Liabilities and Related Data)
  i 7. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of
                                                                                                                                                 this document:
             Debtor expects to begin receiving contibutions toward expenses from partner.
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B6J (Offcial Form 6J) (12/07)
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 In re Rodney Allen McCowan                                                                          Case   No.    09-10347-8
                                                                        Debtor(s)


          SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
     Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time case
fied. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly
expenses calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

D Check this box if a joint petition is fied and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."

 1. Rent or home mortgage payment (include lot rented for mobile home)                                               $                0.00
      a. Are real estate taxes included? Yes                                               No X
      b. Is propert insurance included? Yes                                                No X
                                                                                                                                     0.00
2. Utilities: a. Electricity and heating fuel                                                                        $
                 b. Water and sewer                                                                                  $              55.00
                 c. Telephone                                                                                        $             598.00
                 d. Other See Detailed Expense Attachment                                                            $           2,567.00
 3. Home maintenance (repairs and upkeep)                                                                            $               0.00
4. Food                                                                                                              $             600.00
 5. Clothing                                                                                                         $             500.00
 6. Laundry and dry cleaning                                                                                         $               0.00
 7. Medical and dental expenses                                                                                      $               0.00
 8. Transportation (not including car payments)                                                                      $             120.00
 9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                 $               0.00
 10. Charitable contributions                                                                                        $               0.00
 11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                                        $           1,291.00
                   b. Life                                                                                           $               0.00
                         c. Health                                                                                   $               0.00
                         d. Auto                                                                                     $             478.00
                         e. Other                                                                                    $               0.00
 12. Taxes (not deducted from wages or included in home mortgage payments)
                                                                                                                     $           2,665.00
                      (Specify) See Detailed Expense Attachment
 13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
 plan)
                         a. Auto                                                                                     $           1,102.00
                         b. Other See Detailed Expense Attachment                                                    $          13,815.00
 14. Alimony, maintenance, and support paid to others                                                                $           4,871.00
 15. Payments for support of additional dependents not living at your home                                           $               0.00
 16. Regular expenses from operation of      business, profession, or farm (attach detailed statement)               $               0.00
 17. Other See Detailed Expense Attachment                                                                           $             694.00

 18. AVERAGE MONTHLY EXPENSES (Total               lines 1-17. Report also on Summary of          Schedules and,     $          29,356.001
 ifapplicable, on the Statistical Summary of Certain Liabilities and Related Data.)
 19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
 following the filing ofthis document:
      Alimony obligation reduces by $900 in August, 2010
 20. STATEMENT OF MONTHLY NET INCOME
 a. A verage monthly income from Line 15 of Schedule I                                                               $           11,716.30
 b. A verage monthly expenses from Line 18 above                                                                     $           29,356.00
 c. Monthly net income (a. minus b.)                                                                                 $          -17,639.70
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 In re Rodney Allen McCowan                                             Case No. 09-10347-8
                                                     Debtor(s)

               SCHEDULE J - CURRNT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                         Detailed Expense Attachment
Other Utilty Expenditures:

PSNC (Gas)                                                                        $             123.00
Piedmont Electric                                                                 $           1,175.00
City of Durham (House)                                                            $             225.00
City of Durham (Irrigation)                                                       $             300.00
Old North State Landscaping                                                       $             400.00
ADT                                                                               $             177.00
Cable                                                                             $             167.00

Total Other Utilty Expenditures                                                   $           2,567.00


Specific Tax Expenditures:
Durham                                                                            $           2,153.00
Brusnwick                                                                         $             512.00

Total Tax Expenditures                                                            $           2,665.00


Other Installment Payments:
B of A - Tennwood Ct.                                                             $            8,696.00
Wachovia - Bald Head                                                              $            3,309.00
Wachovia Equity Line - Tennwood                                                   $            1,576.00
B of A Line of Credit - Yennwood                                                  $              234.00

Total Other Installment Payments                                                  $           13,815.00


Other Expenditures:

US Dept of Education                                                              $             429.00
Fitness                                                                           $             150.00
 Homeowners Assoc                                                                 $             115.00

Total Other Expenditures                                                          $                694.00
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B6 Declaration (Offcial Form 6 - Declaration). (12/07)
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                                                                 United States Bankruptcy Court
                                                                    Eastern District of           North Carolina

 In re Rodney Allen McCowan                                                                                              CaseNo.     09-10347-8
                                                                                              Debtor(s)                  Chapter     11




                                       DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                    DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                         I declare under penalty of            perjury that I have read the foregoing summary and schedules, consisting of ~
            sheets, and that they are tre and correct to the best of                        my knowledge, information, and belief.




Date December 21,2009                                                          Signature lsI Rodney Allen McCowan
                                                                                           Rodney Allen McCowan
                                                                                          Debtor

    Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                             18 U.S.C. §§ 152 and 3571.




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B7 (Offcial Form 7) (12/07)




                                                                  United States Bankruptcy Court
                                                                     Eastern District of              North Carolina

 In re       Rodney Allen McCowan                                                                                                    CaseNo.          09-10347-8
                                                                                                 Debtor(s)                           Chapter          11


                                                          STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses fiing ajoint petition may file a single statement on which the information for
both spouses is combined. If    the case is fied under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not ajoint petition is fied, unless the spouses are separated and ajoint petition is not fied. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address ofthe child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. i 007(m).


             Questions I - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. if   the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
                                                                                                                                     known), and the number of      the question.
to any question, use and attach a separate sheet properly identified with the case name, case number (if




                                                                                               DEFINITIONS


             "In business." A debtor is "in business" for the purpose of                 the debtor is a corporation or parnership. An individual debtor is "in
                                                                                           this form if

business" for the purpose of         this form if                                                                                this bankruptcy case, any of
                                                     the debtor is or has been, within six years immediately preceding the fiing of

the following: an offcer, director, managing executive, or owner of 5 percent or more of          the voting or equity securities of a corporation; a partner,
other than a limited partner, of a parnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of    this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the

debtor's primary employment.

             "Insider." The term "insider" includes but is not limited to: relatives of                   the debtor; general parners of       the debtor and their relatives;
corporations of      which the debtor is an offcer, director, or person in control; officers, directors, and any owner of 5 percent or more of
                                                                                                                                                                        the voting or
                                                                                             the debtor and insiders of such affliates; any managing agent of          the debtor. 11
equity securities of a corporate debtor and their relatives; affliates of

U.S.C. § 101.




                1. Income from employment or operation of business
    None State the gross amount of                income the debtor has received from employment, trade, or profession, or from operation of                        the debtor's
      D business, including part-time activities either as an employee or in independent trade or business, from the beginning ofthis calendar
             year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
             calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
             report fiscal year income. IdentifY the beginning and ending dates of the debtor's fiscal year.) If a joint petition is fied, state income for
             each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of      both spouses whether or not ajoint
             petition is fied, unless the spouses are separated and a joint petition is not fied.)

                            AMOUNT                                   SOURCE
                            $288,995.00                             2008 AGI from return

                            $511,971.00                              2007 AGI from return

                            $288,461.50                              New Profit
                                                                     2009 YTD




                                                                                                                                                                       Best Case Bankruptcy
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              2. Income other than from employment or operation of business


    .
  None        State the amount of       income received by the debtor other than from employment, trade, profession, or operation of

              during the two years immediately preceding the commencement of this case. Give pariculars. If a joint petition is fied, state income for
              each spouse separately. (Married debtors fiing under chapter 12 or chapter 13 must state income for each spouse whether or not ajoint
                                                                                                                                                      the debtor's business


              petition is fied, unless the spouses are separated and ajoint petition is not fied.)

                         AMOUNT                                   SOURCE

              3. Payments to creditors


    .
  None        Complete a. or b., as appropriate, and c.

              a. Individual or joint debtor(s) with primarily consumer debts. List all payments on loans, installment purchases of goods or services,
              and other debts to any creditor made within 90 days immediately preceding the commencement of
                                                                                                                      this case unless the aggregate value
              of all propert that constitutes or is affected by such transfer is less than $600. Indicate with an (*) any payments that were made to a
              creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved
              nonprofit budgeting and creditor counseling agency. (Married debtors fiing under chapter 12 or chapter 13 must include payments by
              either or both spouses whether or not ajoint petition is fied, unless the spouses are separated and ajoint petition is not fied.)

NAME AND ADDRESS                                                                 DATESOF                                                                 AMOUNT STILL
                                                                                 PAYMENTS                                      AMOUNT          PAID         OWING
   OF CREDITOR

  None b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
    o immediately preceding the commencement of                     the case unless the aggregate value of all property that constitutes or is affected by such
              transfer is less than $5,475. If     the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
              account ofa domestic support obligation or as part of         an alternative repayment schedule under a plan by an approved nonprofit
              budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or
              both spouses whether or not ajoint petition is filed, unless the spouses are separated and ajoint petition is not filed.)
                                                                                                                                        AMOUNT
                                                                                 DATES OF                                               PAID    OR
                                                                                 PAYMENTS/                                             VALUE OF          AMOUNT STILL
NAME AND ADDRESS OF CREDITOR                                                     TRANSFERS                                         TRASFERS                 OWING
Bank of America                                                                  September 11 - October 11,                          $234.00                      $0.00
                                                                                 2009
County of Durham (taxes)                                                          September 11 - October 11,                           $1,400.00                  $0.00
                                                                                  2009
Bank of America                                                                   September 11 - October 11,                            $352.58                   $0.00
                                                                                  2009
Discover                                                                          September 11 - October 11,                            $248.00                   $0.00
                                                                                  2009
Alimony and child support                                                         September 11 - October 11,                           $2,371.00                  $0.00
                                                                                  2009
Child support                                                                     September 11 - October 11,                           $2,571.00                  $0.00
                                                                                  2009
Alimony                                                                           September 11 - October 11,                           $2,300.00                   $0.00
                                                                                  2009
Piedmont Electric                                                                 September 11 - October 11,                           $2,117.92                   $0.00
                                                                                  2009
City of Durham (water)                                                            September 11 - October 11,                             $345.44                   $0.00
                                                                                  2009
BMW Leasing                                                                       September 11 - October 11,                           $1,102.22                   $0.00
                                                                                  2009
Bank of America                                                                   October 12 - Novem ber 11                              $165.94                   $0.00

County of Durham (taxes)                                                          October 12 - Novem ber 11                            $1,400.00                   $0.00



                                                                                                                                                              Best Case Bankruptcy
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                                                                                                                  AMOUNT
                                                                                  DATES OF                         PAID   OR

                                                                                  PAYMENTS/                      VALUE    OF
                                                                                                                                      AMOUNT STILL
NAME AND ADDRESS OF CREDITOR                                                      TRASFERS                      TRANSFERS                OWING
Child Support                                                                     October 12 - Novem ber 11      $2,571.00                     $0.00

Alimony                                                                           October 12 - November 11       $2,300.00                     $0.00

Piedmont Electric                                                                 October 12 - November 11       $1,219.14                     $0.00


PSNC Energy                                                                       September 11 - October 11        $806.77                     $0.00


Time Warner Cable                                                                 October 12 - Novem ber 11        $481.33                      $0.00


AT&T (mobile)                                                                     October 12 - November 11       $3,151.00                      $0.00

BMW Leasing                                                                       October 12 - Novem ber 11      $1,112.22                      $0.00

Wachovia                                                                          November 12 - December         $3,318.68                      $0.00
                                                                                  11

County of Durham (taxes)                                                          November 12 - December         $1,400.00                      $0.00
                                                                                  11

Brunswick County                                                                  November 12 - December         $1,050.28                      $0.00
                                                                                  11

Child support                                                                     November 12 - December         $2,571.00                      $0.00
                                                                                  11

Alimony                                                                           November 12 - December         $2,300.00                      $0.00
                                                                                  11

PSNC Energy                                                                        November 12 - December          $378.47                      $0.00
                                                                                   11

Piedmont Electric                                                                  November 12 - December        $1,311.79                      $0.00
                                                                                   11

Old North State Landscaping                                                        November 12 - December          $600.00                      $0.00
                                                                                   11

AT&T (mobile)                                                                      November 12 - December          $488.64                      $0.00
                                                                                   11

BMW Leasing                                                                        November 12 - December        $1,112.22                      $0.00
                                                                                   11

Geico Auto Insurance                                                               November 12 - December           $230.92                     $0.00
                                                                                   11

County of Durham - Garnishment                                                     From 5/27/09 to present,       $1,153.85                     $0.00
                                                                                   the County of Durham
                                                                                   garnished this amount from
                                                                                   every bi-weekly paycheck.
Brunswick County - Attachment                                                      1116/2009                        $950.28                      $0.00


SunTrust Bank - Debit Levy Fee                                                     11/06/2009                       $100.00                      $0.00


   None c. All debtors: List all payments made within one year immediately preceding the commencement of                  this case to or for the benefit of
     . creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
               spouses whether or not ajoint petition is fied, unless the spouses are separated and ajoint petition is not fied.)



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NAME AND ADDRESS OF CREDITOR AND                                                                                                                AMOUNT STILL
                                                                                 DATE OF PAYMENT                        AMOUNT      PAID           OWING
      RELATIONSHIP TO DEBTOR

              4. Suits and administrative proceedings, executions, garnishments and attachments
   None       a. List all suits and administrative proceedings to which the debtor is or was a pary within one year immediately preceding the fiing of
     D        this bankrptcy case. (Maried debtors fiing under chapter 12 or chapter 13 must include information concerning either or both spouses
              whether or not ajoint petition is fied, unless the spouses are separated and ajoint petition is not fied.)

CAPTION OF SUIT                                                                             COURT OR AGENCY                      STATUS OR
AND CASE NUMBER                                NATURE OF PROCEEDING                         AND LOCATION                         DISPOSITION
Treyburn Residential v. Rod                    Money      owed                              Durham County                        Dismissed
McCowan                                                                                     North Carolina
08M001929
Charles E. Flowers v. Rod                      Money      owed                              Durham County                        Voluntary Dismissal 215109
McCowan                                                                                     North Carolina
08SP001843
Barry D. Mann v. Rod                           Foreclosure                                  Durham County                        Pending
McCowan                                                                                     North Carolina
09SP001652
Laurie Hayakawa v. Rod                         Divorce                                      Orange County
McCowan                                                                                     North Carolina
08CVD00077 4

   None b. Describe all propert that has been attached, gamished or seized under any legal or equitable process within one year immediately
     . preceding the commencement of                      this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not ajoint petition is fied, unless the spouses are separated and ajoint petition is not
               fied.)

NAME AND ADDRESS OF PERSON FOR WHOSE                                                                    DESCRIPTION AND VALUE OF
   BENEFIT PROPERTY WAS SEIZED                                                DATE OF SEIZURE                  PROPERTY

               5. Repossessions, foreclosures and returns
   None List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu offoreclosure or
    . returned to the seller, within one year immediately preceding the commencement of           this case. (Married debtors fiing under chapter 12
             or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is fied, unless the
             spouses are separated and ajoint petition is not fied.)

                                                                          DATE OF REPOSSESSION,
NAME AND ADDRESS OF                                                         FORECLOSURE SALE,                DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                       TRANSFER OR RETURN                        PROPERTY

               6. Assignments and receiverships
   None a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
     . this case. (Married debtors fiing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
               joint petition is fied, unless the spouses are separated and ajoint petition is not filed.)

                                                                       DATE OF
NAME AND ADDRESS OF ASSIGNEE                                           ASSIGNMENT                            TERMS OF ASSIGNMENT OR SETTLEMENT

   None b. List all property which has been in the hands of a custodian, receiver, or court-appointed offcial within one year immediately
     . preceding the commencement of this case. (Married debtors fiing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is fied, unless the spouses are separated and a joint petition is not
               filed.)

                                                                  NAME AND LOCATION
NAME AND ADDRESS                                                       OF COURT                               DATE OF            DESCRIPTION AND VALUE OF
  OF CUSTODIAN                                                    CASE TITLE & NUMBER                         ORDER                    PROPERTY



                                                                                                                                                    Best Case Bankruptcy
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               7. Gifts



     .
    None       List all gifts or charitable contributions made within one year immediately preceding the commencement of     this case except ordinary
               and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
               aggregating less than $100 per recipient. (Maried debtors fiing under chapter 12 or chapter 13 must include gifts or contributions by
               either or both spouses whether or not ajoint petition is fied, unless the spouses are separated and ajoint petition is not fied.)

   NAME AND ADDRESS OF                                            RELATIONSHIP TO                                                       DESCRIPTION AND
 PERSON OR ORGANIZATION                                            DEBTOR, IF ANY                            DATE     OF   GIFT          VALUE OF GIFT

               8. Losses



     .
    None       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of

               since the commencement of this case. (Married debtors fiing under chapter i 2 or chapter i 3 must include losses by either or both
               spouses whether or not ajoint petition is fied, unless the spouses are separated and ajoint petition is not filed.)
                                                                                                                                                             this case or



                                                                                      DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                                LOSS WAS COVERED IN WHOLE OR IN PART
     OF PROPERTY                                                                         BY INSURANCE, GIVE PARTICULARS                          DATE   OF     LOSS

               9. Payments related to debt counseling or bankruptcy
    None       List all payments made or propert transferred by or on behalf ofthe debtor to any persons, including attorneys, for consultation
     o         concerning debt consolidation, relief under the bankruptcy law or preparation ofthe petition in bankruptcy within one year immediately
               preceding the commencement of               this case.


                                                                                   DATE OF PAYMENT,                                         AMOUNT OF MONEY
NAME AND ADDRESS                                                                 NAME OF PAYOR IF OTHER                                 OR DESCRIPTION AND VALUE
   OF PAYEE                                                                          THAN  DEBTOR                                             OF PROPERTY

 Everett, Gaskins, Hancock & Stevens                                                                                                    $20,000.00
 P.O. Box 911
 Raleigh, NC 27602

               10. Other transfers
   None a. List all other property, other than propert transferred in the ordinary course of     the business or financial affairs ofthe debtor,
     . transferred either absolutely or as security within two years immediately preceding the commencement of           this case. (Maried debtors
               fiing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not ajoint petition is fied, unless the
               spouses are separated and a joint petition is not fied.)

NAME AND ADDRESS OF TRANSFEREE,                                                                              DESCRIBE PROPERTY TRANSFERRD
     RELATIONSHIP TO DEBTOR                                                    DATE                                AND VALUE RECEIVED

   None b. List all property transferred by the debtor within ten years immediately preceding the commencement of                             this case to a self-settled
     . trust or similar device of               which the debtor is a beneficiary.

NAME OF TRUST OR OTHER                                                                                       AMOUNT OF MONEY OR DESCRIPTION AND
DEVICE                                                                         DATE(S) OF                    VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                               TRANSFER(S)                   IN PROPERTY

                11. Closed financial accounts
    None List all financial accounts and instruments held in the name ofthe debtor or for the benefit ofthe debtor which were closed, sold, or
     . otherwise transferred within one year immediately preceding the commencement of                this case. Include checking, savings, or other
              financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
              cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter i 2 or chapter 13 must
              include information concerning accounts or instruments held by or for either or both spouses whether or not ajoint petition is fied,
              unless the spouses are separated and ajoint petition is not fied.)

                                                                                  TYPE OF ACCOUNT, LAST FOUR
                                                                                  DIGITS OF ACCOUNT NUMBER,                              AMOUNT AND DATE OF SALE
NAME AND ADDRESS OF INSTITUTION                                                  AND AMOUNT OF FINAL BALANCE                                    OR CLOSING



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               12. Safe deposit boxes


     .
   None        List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
               immediately preceding the commencement of      this case. (Maried debtors filing under chapter 12 or chapter 13 must include boxes or
               depositories of either or both spouses whether or not ajoint petition is fied, unless the spouses are separated and ajoint petition is not
               fied.)

                                                            NAMES AND ADDRESSES
NAME AND ADDRESS OF BANK                                    OF THOSE WITH ACCESS                              DESCRIPTION           DATE OF TRASFER OR
 OR OTHER DEPOSITORY                                        TO BOX OR DEPOSITORY                              OF CONTENTS            SURRNDER, IF ANY

               13. Setoffs



     .
   None        List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
               commencement of this case. (Married debtors fiing under chapter 12 or chapter 13 must include information concerning either or both
               spouses whether or not ajoint petition is fied, unless the spouses are separated and ajoint petition is not fied.)

NAME AND ADDRESS OF CREDITOR                                                    DATE OF SETOFF                                 AMOUNT OF SETOFF

               14. Property held for another person



     .
   None        List all property owned by another person that the debtor holds or controls.


NAME AND ADDRESS OF OWNER                                    DESCRIPTION AND VALUE OF PROPERTY                         LOCATION OF PROPERTY

               15. Prior address of debtor



     .
   None        If the debtor has moved within three years immediately preceding the commencement of    this case, list all premises which the debtor
               occupied during that period and vacated prior to the commencement ofthis case. If ajoint petition is fied, report also any separate
               address of either spouse.

ADDRESS                                                                         NAME        USED                               DATES OF OCCUPANCY

               16. Spouses and Former Spouses


     .
   None        If the debtor resides or resided in a community propert state, commonwealth, or territory (including Alaska, Arizona, Califomia, Idaho,

               Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
               commencement of     the case, identifY the name of the debtor's spouse and of any former spouse who resides or resided with the debtor in
               the community property state.

NAME

               17. Environmental          Information.

               For the purpose of       this question, the following definitions apply:

               "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
               or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
               statutes or regulations regulating the cleanup of              these substances, wastes, or materiaL.

                      "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                      owned or operated by the debtor, including, but not limited to, disposal sites.

                      "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                      pollutant, or contaminant or similar term under an Environmental Law

   None a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
    . or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of  the notice, and, if known,
             the Environmental Law:

                                                             NAME AND ADDRESS OF                              DATE OF               ENVIRONMENTAL
 SITE NAME AND ADDRESS                                       GOVERNMENTAL UNIT                                NOTICE                LAW



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   None b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
     . MateriaL. Indicate the governmental unit to which the notice was sent and the date ofthe notice.


                                                             NAME AND ADDRESS OF                                DATE   OF                 ENVIRONMENTAL
SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                                  NOTICE                    LAW

   None c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
     . the debtor is or was a pary. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
               docket number.

NAME AND ADDRESS OF
GOVERNMENTAL UNIT                                                               DOCKET NUMBER                                      STATUS OR DISPOSITION

               18 . Nature, location and name of business


     .
   None        a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature ofthe businesses, and beginning and
               ending dates of all businesses in which the debtor was an offcer, director, partner, or managing executive of a corporation, partner in a
               partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
               immediately preceding the commencement of        this case, or in which the debtor owned 5 percent or more of    the voting or equity securities
               within six years immediately preceding the commencement of                       this case.



               If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of
                                                                                                                                the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of                the voting or equity securities, within six
               years immediately preceding the commencement of                     this case.



               If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of
                                                                                                                                 the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of                the voting or equity securities within six
               years immediately preceding the commencement of                     this case.


                                    LAST FOUR DIGITS OF
                                    SOCIAL-SECURITY OR
                                    OTHER INDIVIDUAL
                                    TAXPAYER-J.D. NO.                                                                                        BEGINNING AND
NAME                                                                                                            NATURE OF BUSINESS           ENDING DATES
                                    (lTIN)/ COMPLETE EIN ADDRESS


     .
   None b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 1 I U.S.c. § 101.


NAME                                                                           ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of         this case, any ofthe following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of
                                                                    the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

               19. Books, records and financial statements


     .
   None        a. List all bookkeepers and accountants who within two years immediately preceding the filing of

               supervised the keeping of          books of    account and records of        the debtor.
                                                                                                                                 this bankruptcy case kept or


 NAME AND ADDRESS                                                                                                        DATES SERVICES RENDERED

    None b. List all firms or individuals who within the two years immediately preceding the fiing of                       this bankruptcy case have audited the books
     . of account and records, or prepared a financial statement of                          the debtor.



 NAME                                                 ADDRESS                                                            DATES SERVICES RENDERED

    None c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
     . of      the debtor. If any ofthe books of  account and records are not available, explain.

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NAME ADDRESS
   None d. List all financial institutions, creditors and other paries, including mercantile and trade agencies, to whom a financial statement was
    . issued by the debtor within two years immediately preceding the commencement of                                  this case.



NAME AND ADDRESS                                                                                                 DATE ISSUED

                20. Inventories
   None a. List the dates of           the last two inventories taken of          your property, the name of     the person who supervised the taking of each inventory,
     . and the dollar amount and basis of each inventory.

                                                                                                                              DOLLAR AMOUNT OF INVENTORY
DATE OF INVENTORY                                     INVENTORY SUPERVISOR                                                    (SpecifY cost, market or other basis)


     .
   None b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.


                                                                                            NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
DATE OF INVENTORY                                                                           RECORDS

                21 . Current Partners, Offcers, Directors and Shareholders


     .
   None a. Ifthe debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


NAME AND ADDRESS                                                              NATURE OF INTEREST                                         PERCENTAGE OF INTEREST

   None b. If        the debtor is a corporation, list all offcers and directors of             the corporation, and each stockholder who directly or indirectly owns,
     . controls, or holds 5 percent or more of                    the voting or equity securities of       the corporation.

                                                                                                                              NATURE AND PERCENTAGE
NAME AND ADDRESS                                                              TITLE                                           OF STOCK OWNERSHIP

                22 . Former partners, offcers, directors and shareholders
   None a. If        the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
     . commencement of this case.

NAME                                                             ADDRESS                                                                DATE OF WITHDRAWAL

   None b. If        the debtor is a corporation, list all offcers, or directors whose relationship with the corporation terminated within one year
     . immediately preceding the commencement of                           this case.



NAME AND ADDRESS                                                               TITLE                                          DATE OF TERMINATION

                23 . Withdrawals from a partnership or distributions by a corporation
   None If        the debtor is a parnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
     . in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
                commencement of         this case.


NAME & ADDRESS                                                                                                                            AMOUNT OF MONEY
OF RECIPIENT,                                                                  DATE AND PURPOSE                                           OR DESCRIPTION AND
RELATIONSHIP TO DEBTOR                                                         OF WITHDRAWAL                                              V ALUE OF PROPERTY




                                                                                                                                                                Best Case Bankruptcy
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              24. Tax Consolidation Group.
   None If       the debtor is a corporation, list the name and federal taxpayer identification number of                the parent corporation of   any consolidated

     . group for tax purposes of                which the debtor has been a member at any time within six years immediately preceding the commencement
              ofthe case.


NAME OF PARNT CORPORATION                                                                                          T AXP A YER IDENTIFICATION NUMBER (EIN)

              25. Pension Funds.

   None If       the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the debtor, as an
                                                                                                                                                                 the case.
     . employer, has been responsible for contributing at any time within six years immediately preceding the commencement of



NAME OF PENSION FUND                                                                                               TAXPAYER IDENTIFICATION NUMBER (EIN)


                                DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

I declare under penalty of       perjury that I have read the answers contained in the foregoing statement offinancial affairs and any attachments thereto
and that they are true and correct.


 Date December 21,2009                                                        Signature lsI Rodney Allen McCowan
                                                                                          Rodney Allen McCowan
                                                                                         Debtor

                   Penalty for making afalse statement: Fine of          up to $500,000 or imprisonmentfor lip to 5 years, or both. 18 u.s.c. §§ 152 and 357 i




                                                                                                                                                             Best Case Bankruptcy
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                                                               United States Bankruptcy Court
                                                                  Eastern District of           North Carolina

 In re        Rodney Allen McCowan                                                                                            CaseNo.     09-10347-8
                                                                                            Debtor(s)                         Chapter     11


                           DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
i. Pursuant to 11 U.S.c. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
      compensation paid to me within one year before the filing of           the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
      be rendered on behalf of         the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                                 $               20,000.00
              Prior to the fiing of     this statement I have received                                                    $               20,000.00
              Balance Due                                                                                                 $                      0.00

2. The source of         the compensation paid to me was:

              . Debtor                o Other (specify):


3. The source of compensation to be paid to me is:

              . Debtor                o Other (specify):


4. . I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of
                                                                                                                                                               my law firm.

         o I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of
                                                                                                                                                         my law firm. A
             copy of   the agreement, together with a list ofthe names of               the people sharing in the compensation is attached.

5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of                     the bankruptcy case, including:

         a. Analysis ofthe debtor's financial situation, and rendering advice to the debtor in determining whether to fie a petition in bankruptcy;
         b. Preparation and fiing of any petition, schedules, statement of affairs and plan which may be required;
         c. Representation of      the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
         d. (Other provisions as needed)



6. By agreement with the debtor(s), the above-disclosed fee does not include the following service:
                    Representation of the debtors in any dischargeability actions, judicial lien avoidances, or any other adversary
                    proceeding.
                                                                                  CERTIFICA TION

         I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of
                                                                                                                                                         the debtor(s) in
 this bankrptcy proceeding.

 Dated: December 21,2009                                                                    lsI Bill Janvier
                                                                                            Bill Janvier
                                                                                            Everett, Gaskins, Hancock & Stevens
                                                                                            127 West Hargett St.
                                                                                            Suite 600
                                                                                             Raleigh, NC 27601
                                                                                             919 755-0025 Fax: 919 755-0009




                                                                                                                                                            Best Case Bankruptcy
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 In re Rodney Allen McCowan
                       Debtor(s)
 Case       Number: 09-10347-8
                                          (Ifknown)

                                  CHAPTER 11 STATEMENT OF CURRNT MONTHLY INCOME
In addition to Schedules I and J, this statement must be completed by every individual Chapter 11 debtor, whether or not fiing                             jointly. Joint debtors

may complete one statement only.

                                          Part I. CALCULATION OF CURNT MONTHLY INCOME
               Marital/filing status. Check the box that applies and complete the balance of                  this part of   this statement as directed.

        1
               a.    . Unmarried. Complete only Column A ("Debtor's Income") for Lines 2-10.
               b.    o Married, not fiing jointly. Complete only column A ("Debtor's Income") for Lines 2-10.
               c.    o Maried, fiing     jointly. Complete both Column A ("Debtor's Income") and Column B ("Spouse's Income") for Lines 2-10.
               All figures must reflect average monthly income received from all sources, derived during the six                             Column A              Column B
               calendar months prior to fiing the bankruptcy case, ending on the last day of    the month before
               the filing. If the amount of      monthly income varied during the six months, you must divide the                            Debtor's               Spouse's
               six-month total by six, and enter the result on the appropriate line.                                                         Income                  Income

        2      Gross wages, salary, tips, bonuses, overtime, commissions.                                                                $     25,000.00       $

               Net income from the operation of a business, profession, or farm. Subtract Line b from Line a
               and enter the difference in the appropriate column(s) of Line 3. If more than one business
               profession or farm, enter aggregate numbers and provide details on an attachment. Do not enter a
               number less than zero.
        3
                                                                            Debtor                Soouse
                a.      Gross receiots                                          $                 0.00 $
                b.      Ordinar and necessary business exoenses                 $                 0.00 $
                c.      Business income                                         Subtract Line b from Line a                              $              0.00 $

               Net Rental and other real property income. Subtract Line b from Line a and enter the
               difference in the appropriate column(s) of           Line 4. Do not enter a number less than zero.
                                                                                    Debtor                 Spouse
        4
                a.      Gross receiots                                           $               90.00   $
                b.      Ordinary and necessary operatinQ exoenses                $                0.00   $
                c.      Rent and other real orooertv income                      Subtract Line b from Line a                             $          90.00      $

        5      Interest, dividends, and royalties.                                                                                       $              0.00   $

        6      Pension and retirement income.                                                                                            $              0.00   $

               Any amounts paid by another person or entity, on a regular basis, for the household
        7      expenses ofthe debtor or the debtor's dependents, including child support paid for that
               purpose. Do not include alimony or separate maintenance payments or amounts paid by the
               debtor's spouse if    Column B is completed.                                                                              $              0.00 $

               Unemployment compensation. Enter the amount in the appropriate column(s) of                  Line 8.
               However, if    you contend that unemployment compensation received by you or your spouse was a
               benefit under the Social Security Act, do not list the amount of            such compensation in Column A
        8
               or B, but instead state the amount in the space below:

               I be a benefit under
                 ~nemplOyment       the Social Security
                                 compensation   claimed Act
                                                        to I Debtor $                          0.00 I Spouse $                       I $                0.00 $

               Income from all other sources. SpecifY source and amount. If    necessary, list additional sources
               on a separate page. Total and enter on Line 9. Do not include alimony or separate maintenance
               payments paid by your spouse if Column B is completed, but include all other payments of
               alimony or separate maintenance. Do not include any benefits received under the Social
        9      Security Act or payments received as a victim of a war crime, crime against humanity, or as a
               victim of international or domestic terrorism.
                                                                          Debtor                   Spouse

               f8
                b.                                                               I:                      I:                          I   $              0.00   $

        10     Subtotal of current monthly income. Add lines 2 thru 9 in Column A, and, if Column B is
               completed, add Lines 2 thru 9 in Column B. Enter the total(s).                                                            $     25,090.00       $



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             Total current monthly income. If  Column B has been completed, add Line 10, Column A to
    II       Line 10, Column B, and enter the total. If Column B has not been completed, enter the amount
             from Line 10, Column A.                                                                                          $                               25,090.00

                                                                              Part II. VERIFICA nON
             I declare under penalty of        perjury that the information provided in this statement is true and correct.       (If   this is ajoint case, both debtors
             must sign.)
    12                          Date:      December 21, 2009                                   Signature: lsI Rodney Allen McCowan
                                                                                                             Rodney Allen McCowan
                                                                                                                        (Debtor)




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